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                     IN THE UNITED STATES BANKRUPTCY COURT
                          SOUTHERN DISTRICT OF GEORGIA

IN RE:                                         )
                                               )
                                               )        CHAPTER 13
LINDA F HILL                                   )        CASE NO. 15-60011
                                               )
               Debtor.                         )

                           MOTION TO APPROVE SETTLEMENT
                            AND DISBURSEMENT OF FUNDS

       NOW COMES, LINDA F HILL, Debtor in the above stated matter, and files this Motion
to Approve Settlement and Disbursement of Funds as follows:
                                                   1.
       Debtor filed a voluntary petition for relief under Chapter 13 of the Bankruptcy Code on
January 9, 2015.
                                                   2.
       Debtor’s vehicle was involved in a motor vehicle accident on or about January 29, 2017,
which caused a total loss of her 2012 Chrysler 200.
                                                   3.
       Portfolio Recovery Associates, LLC has a first in priority lien on the 2012 Chrysler 200
and is being paid by the Chapter 13 Trustee pursuant to the terms of the confirmed plan.
                                                   4.
       Progressive Casualty Insurance Company (claim number XX-XXXXXXX-02) has determined
that the vehicle is a total loss and is willing to settle the property damage claim for a net
settlement of $9,476.83.
                                                   5.
       Debtor wishes to settle the insurance claim for $9,476.83.
                                                   6.
       Debtor requests that Portfolio Recovery Associates, LLC be paid the balance of
$8,778.01 which represents the secured portion of the claim to which it is entitled pursuant to the
Chapter 13 Plan.
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                                               7.
       Debtor requests that Portfolio Recovery Associates, LLC release the lien on the title and
forward it to Progressive Casualty Insurance Company, and that the secured portion of the claim
of Portfolio Recovery Associates, LLC (Claim #4) be reduced to the amount already paid.
                                                8.
       Debtor proposes that the excess funds of the settlement in the amount of $698.82 to be
paid to the Chapter 13 Trustee.
       WHEREFORE, Debtor respectfully requests that she be allowed to settle the property
damage claim and for the funds to be disbursed as set forth above.
       Respectfully submitted this 22nd day of February, 2017.


                                                     H. LEHMAN FRANKLIN, P.C.


                                                     /s/ Kimberly S. Ward
                                                     Kimberly S. Ward
                                                     Georgia Bar No. 682042
                                                     Attorney for Debtor

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                                 CERTIFICATE OF SERVICE

       This is to certify that I have this date electronically served a copy of the foregoing Motion

to Approve Settlement and Disbursement of Funds and Proposed Order upon O. Byron Meredith,

III, Chapter 13 Trustee.

       I further certify that the foregoing Motion to Approve Settlement by placing a copy of

same in the United States Mail with adequate postage affixed thereto and properly addressed to:

                              Portfolio Recovery Associates, LLC
                              Attn: Agent/ Officer
                              P O Box 41067
                              Norfolk, VA 23541


       This 22nd day of February, 2017.

                                                     H. LEHMAN FRANKLIN, P.C.


                                                     /s/ Kimberly S. Ward
                                                     Kimberly S. Ward
                                                     Georgia Bar No. 682042
                                                     Attorney for Debtor

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